
The People of the State of New York, Respondent,
againstPatrick Izidro de Souza, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Richard Ross, J.H.O), rendered April 12, 2016, convicting him, upon a plea of guilty, of possessing an unleashed animal in a city park, and imposing sentence.




Per Curiam.
Judgment of conviction (Richard Ross, J.H.O), rendered April 12, 2016, reversed, on the law, accusatory instrument dismissed, fine and surcharge, if paid, remitted.
As the People concede, defendant's conviction must be vacated since the plea record lacks the requisite "affirmative showing" that defendant understood and waived his Boykin rights (see Boykin v Alabama, 395 US 238, 242 [1969]; People v Tyrell, 22 NY3d 359, 365 [2013]). The People also agree that dismissal of the accusatory instrument is the appropriate corrective action in this particular case (cf. People v Conceicao, 26 NY3d 375, 385 n 1 [2015]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: January 08, 2018










